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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )
                                     )                  CRIMINAL ACTION
v.                                   )
                                     )                  No. 10-20129-03-KHV
MARCUS L. QUINN,                     )
                                     )
               Defendant.            )
_____________________________________)

                                               ORDER

        On January 23, 2012, the Court sentenced defendant to 360 months in prison. See Judgment

In A Criminal Case (Doc. #688). This matter is before the Court on defendant’s letter (Doc. #881),

which the Court construes as a motion to reduce sentence under 18 U.S.C. § 3582(c)(2). Defendant

seeks relief under Amendment 782 to the United States Sentencing Guidelines (“U.S.S.G.”), which

lowered the base offense levels for certain quantities in the Drug Quantity Table at U.S.S.G. § 2D1.1.

Defendant is not eligible for relief under Amendment 782 because his offense level remains the same

under the amended guidelines. In particular, defendant’s base offense level remains level 38 because

under the most conservative estimate, the Court attributes at least 37 kilograms of cocaine base to him.

See Presentence Investigation Report (Doc. #660) ¶ 144; U.S.S.G. § 2D1.1, Drug Quantity Table

(2014) (base offense level 38 for 25.2 kilograms or more of cocaine base). Accordingly, defendant is

not entitled to relief.

        IT IS THEREFORE ORDERED that defendant’s letter (Doc. #881) filed April 20, 2015,

which the Court construes as a motion to reduce sentence under 18 U.S.C. § 3582(c)(2), be and hereby

is OVERRULED.
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   Dated this 27th day of April, 2015 at Kansas City, Kansas.

                                                 s/ Kathryn H. Vratil
                                                 KATHRYN H. VRATIL
                                                 United States District Judge




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